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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 23-cr-80219-AMC

  UNITED STATES OF AMERICA

  vs.

  MICHAEL GORDON DOUGLAS,

               Defendant.
  _________________________________/

           NOTICE OF STRIKING NOTICE OF CONVENTIONAL FILING [DE 141]

         COMES NOW the United States of America, by and through the undersigned Assistant United

  States Attorney, and hereby files this Notice of Striking Notice of Conventional Filing (DE 141). The

  undersigned filed this Notice of Conventional Filing without submitting the document in the

  conventional paper format.

                                                Respectfully submitted,

                                                HAYDEN P. O’BYRNE
                                                UNITED STATES ATTORNEY

                                        By:     /s/Justin Chapman
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                                    CERTIFICATE OF SERVICE

          I hereby certify that, on April 30, 2025, a copy of this pleading was served and filed with the
  Court’s CM/ECF filing system upon all counsel of record.

                                                 s/ Justin Chapman
                                                 Assistant United States Attorney




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